
16 N.Y.2d 982 (1965)
In the Matter of Virginia Glass, Respondent,
v.
Board of Education of the City of New York, Appellant.
Court of Appeals of the State of New York.
Argued October 19, 1965.
Decided October 28, 1965.
Leo A. Larkin, Corporation Counsel (Eugene M. Kaufman, Seymour B. Quel and Joseph M. Callahan, Jr., of counsel), for appellant.
Benjamin Mazen for respondent.
Henry C. Woicik for United Federation of Teachers, Local 2, American Federation of Teachers, AFL-CIO, amicus curiae.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Order affirmed, without costs. Petitioner is entitled to a hearing under section 2573 of the Education Law solely to determine whether she has the requirements for eligibility and tenure. The teaching license is, of course, a professional prerequisite to the holding of a permanent position.
